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                                                                              Clerk, U.S. District Court, ILCD

044653/19344/JNR

                          UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION

 ANTHONY GAY,

                         Plaintiff,

 v.
                                                      Case Number 19-cv-01133
 THE STATE OF ILLINOIS, JOHN
 BALDWIN, JEFF SIMS, SHANE REISTER,                   Judge Sue E. Myerscough
 DR. DOE 1, MELVIN HINTON, SYLVIA
 BUTLER, KELLY ANN RENZI, WILLIAM                     Magistrate Judge Eric I. Long
 PUGA, DR. CHESS, DR. NUNEZ,
 WEXFORD HEALTH SOURCES, INC., and
 DOES 2-5,

                         Defendants.

                        SUPPLEMENT TO MOTION FOR SANCTIONS

       NOW COMES the Defendants, WEXFORD HEALTH SOURCES, INC., KELLY RENZI,

PSY.D., and WILLIAM PUGA, M.D., by and through their attorneys, CASSIDAY SCHADE

LLP, and pursuant to Rule 37(b)(2) hereby submit their Supplement to Motion for Sanctions,

stating as follows:

                                        BACKGROUND

       On May 16, 2022, Defendants served their second interrogatories and requests for

production. Exhibit A, B. Specifically, Defendants asked Plaintiff to: “[i]dentify all statements

concerning the allegations in this case or Plaintiff’s incarceration in the Illinois Department of

Corrections made by Plaintiff or any representative speaking on his behalf since Plaintiff’s release

from IDOC, including but not limited to blog posts, Tweets, social media posts, interviews, press

releases, and press conference statements, whether in writing or audio/visual recording.

(Emphases added). Exhibit A. Defendants also asked Plaintiff to produce: “All statements
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concerning the allegations in this case or Plaintiff’s incarceration in the Illinois Department of

Corrections made by Plaintiff or any representative speaking on his behalf since Plaintiff’s release

from IDOC, including but not limited to blog posts, Tweets, social media posts, interviews, press

releases, and press conference statements, whether in writing or audio/visual recording.”

(Emphases added). Exhibit B.

        As laid out in Defendants’ pending Motion for Sanctions and Supporting Memorandum of

Law, Plaintiff as convicted of a felony on May 19, 2022, and Defendants encountered protracted

difficulties obtaining discovery from him both before and after that. Doc. 190 at 25. During

negotiations over Plaintiff’s late responses to Defendants May 16, 2022, discovery outlined above,

Plaintiff’s counsel informed Defendants’ counsel: “Given the apparent destruction of the lost

documents, we believe that all or nearly all of the remaining responsive documents in Mr. Gay’s

“possession” would be contained in emails he sent or received since he was released from prison

in 2018 (he does not have social media accounts like Facebook or Twitter).”1

        On August 19, 2022, Plaintiff responded to Defendants’ May 16, 2022, interrogatory and

request for production. Exhibits C, D. On Defendants’ interrogatory, Plaintiff answered:

         Plaintiff objects to this interrogatory as unduly burdensome to the extent it seeks
         information equally available to the defendant, such as information available via
         internet search or search of court dockets. Plaintiff further objects that “any
         representative speaking on his behalf” is vague and undefined, overly broad and
         unduly burdensome in the context of this interrogatory, as both “representative”
         and “speaking on his behalf” are susceptible to multiple meanings, including
         statements that are made in support of Plaintiff or statements that offer the
         speaker’s opinion regarding Plaintiff or his experiences; out of an abundance of
         caution Plaintiff has interpreted both terms broadly in responding to this
         interrogatory. Plaintiff further objects to this interrogatory in that the term “all
         statements” renders the interrogatory vague, unduly burdensome, and overbroad.
         Since his release from prison in 2018, Plaintiff has spoken with friends, family,
         acquaintances, and strangers about his experience in prison on a regular basis,
         approaching every day; and Plaintiff’s experience during incarceration has been a

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 To comply with the Standards for Professional Conduct within the Seventh Federal Judicial Circuit No. 30
(Lawyers’ Duties to Other Counsel), Defendants have not attached emails between counsel


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        matter of public concern, such that numerous other people have spoken about his
        experiences or in his support as well. Given the volume and regularity of
        responsive statements, recalling and identifying each responsive statement is
        unduly burdensome and effectively impossible. Subject to and without waiving
        these objections, Plaintiff identifies statements made in the following for a. In
        addition to these statements, Pursuant to Rule 33(d) Plaintiff identifies documents
        produced in response to Wexford’s Rule 34 Request No. 30 (served May 16,
        2022).” Exhibit C.

Plaintiff then listed a number of internet links and sources. Id.

       In response to Defendants’ Request for Production of Documents, Plaintiff

answered:

       Plaintiff objects to this request as unduly burdensome to the extent it seeks
       documents equally available to the defendant, such as documents available via
       internet search or search of court dockets. Plaintiff further objects that “any
       representative speaking on his behalf” is vague and undefined, overly broad and
       unduly burdensome in the context of this interrogatory, as both “representative”
       and “speaking on his behalf” are susceptible to multiple meanings, including
       statements that are made in support of Plaintiff or statements that offer the speaker’s
       opinion regarding Plaintiff or his experiences; out of an abundance of caution
       Plaintiff has interpreted both terms broadly in responding to this request. Plaintiff
       further objects to this request in that the term “all statements” renders the request
       vague, unduly burdensome, and overbroad. Since his release from prison in 2018,
       Plaintiff has spoken with friends, family, acquaintances, and strangers about his
       experience in prison on a regular basis, approaching every day; and Plaintiff’s
       experience during incarceration has been a matter of public concern, such that
       numerous other people have spoken about his experiences or in his support as well.
       Given the volume and regularity of responsive statements, recalling and identifying
       each responsive statement is unduly burdensome and effectively impossible. ***.
       Exhibit D.

       Upon serving these discovery answers, Plaintiff’s counsel updated Defendants’ counsel on

the ESI searches of Plaintiff’s computer, explaining that Plaintiff had employed an IT consulting

firm to run searches on Plaintiff’s computer and would be making productions by August 26.

Defendants’ counsel sought clarification that “social media activity will be covered by the

supplemental production following ESI search.” Plaintiff’s counsel responded “I'm not sure what




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you mean. Mr. Gay did not have social media accounts” and social media posts by third parties

were not in Plaintiff’s possession per Rule 45. Defendants’ counsel responded:

       Steve: we are satisfied with the answers as it relates to statements other than
       Gay’s. I was specifically referencing social media posts by Gay himself about his
       incarceration. The INT and RTP asks for “statements concerning the allegations of
       this case made by Plaintiff *** since Plaintiff’s release from IDOC, including but
       not limited to blog posts, Tweets, social media posts…” I think that is a pretty
       common discovery request. If he had no social media, to close the loop on these
       requests he should confirm as much in supplemental answers. Thanks.

On August 26, 2022, Plaintiff made a production of materials believed to be from the ESI search

of his computer and responsive to Defendants’ January 25 and May 16, 2022, discovery requests.

On August 28, 2022, Defendants’ counsel again wrote to Plaintiff’s counsel following the

production of documents on August 26 but noting that Plaintiff’s answer to the May 16, 2022,

discovery did not specifically address Plaintiff’s social media activity and asking for a

supplemental response. Plaintiff’s counsel responded:

       “You say that "Mr. Gay’s social media activity . . . was omitted from the answer"
       to Wexford's May 16 interrogatory, by which you mean your 8/22 request to me
       that Plaintiff identify which social media accounts were maintained by Mr. Gay (or
       provide an interrogatory response stating that he did not maintain social media
       accounts). That claim of omission is incorrect. Your May 16 interrogatory asked
       Plaintiff to identify certain statements made by him or others, including statements
       made on social media. It did not ask Mr. Gay to identify which social media
       accounts he maintained. I informed you that Mr. Gay did not in order to provide
       context in answering your discovery enforcement email, but that was not the
       question asked in your May 16 interrogatory. Your claim that the interrogatory
       response is incomplete because it does not contain that information is incorrect. We
       do not believe supplementation is called for. If you have reason to disagree, please
       explain.

       Defendants had an investigator do a background check on Plaintiff. The investigator

determined Plaintiff not only has social media but that Plaintiff posted about the exact issues in

this case numerous times. A sampling follows:




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       Defendants now move to supplement their pending Motion for Sanctions, as Plaintiff’s

discovery answers are demonstrably false and further show a pattern of evasiveness, obfuscation,

and gamesmanship warranting sanctions.

                                         ARGUMENT

       In their pending Motion for Sanctions, Defendants argued for a sanction under Rule

37(b)(2) because Plaintiff had shown “a pattern of evasiveness, obfuscation, and gamesmanship


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with discovery.” Doc. 190 at 30. Under Rule 37 a "district court may dismiss a case as

a sanction for discovery abuse upon finding that the plaintiff, through its actions, displayed

willfulness, bad faith, or fault." In re Pansier, 417 F. App'x 565, 569 (7th Cir. 2011), citing Collins

v. Illinois, 554 F.3d 693, 696 (7th Cir. 2009)). Dismissal under Rule 41(b) is a "stricter standard"

that "requires a pattern of contumacious conduct and a showing of prejudice to the opposing party

in order to justify dismissal for failure to prosecute or for noncompliance with court

orders." Pansier, 417 F. App'x at 569. Dismissal "is a harsh sanction," and the Seventh Circuit has

held that "a district judge in considering dismissal must be guided by the norm of

proportionality." Oliva v. Trans Union, LLC, 123 F. App'x 725, 727 (7th Cir. 2005). But "as soon

as a pattern of noncompliance with the court's discovery orders emerges, the judge is entitled to

act with a swift decision." Id.

       Rule 37(d) has been interpreted to encompass responses which are evasive and incomplete,

as they are tantamount to no answers at all. Airtex Corp. v. Shelley Radiant Ceiling Co., 536 F.2d

145, 155 (7th Cir. 1976). Alternatively, Rule 26(g) authorizes courts to sanction parties for failing

to confirm that "to the best of their knowledge, information, and belief formed after a reasonable

inquiry . . . with respect to a disclosure, it is complete and correct as of the time it is made." Fed.

R. Civ. P. 26(g)(1). If parties violate that rule without substantial justification, courts must order

appropriate sanctions with remedies including "an order to pay the reasonable expenses, including

attorney's fees, caused by the violation." Fed. R. Civ. P. 26(g)(3).

       Regardless of the basis, "[u]pon finding that false information has been communicated, the

court must determine whether the communicating party should be sanctioned." Morris v.

McMaster-Carr Supply Co., 2002 U.S. Dist. LEXIS 10484, at *6-7 (N.D. Ill. June 6, 2002).

Because "[p]arties must take reasonable steps to ensure that they provide complete and accurate




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information in discovery *** negligence or inadvertence, not just bad faith or willfulness, is

sanctionable." Id., citing EEOC v. Sears, Roebuck & Co., 114 F.R.D. 615, 626 (N.D. Ill. 1987)).

The "degree of culpability, however, bears on the type of sanction that is imposed." Id.; see

also Fed. R. Civ. P. 37, Advisory Committee Notes to 1970 Amendment ("In view of the

possibility of light sanctions, even a negligent failure should come within Rule 37(d).").

       Defendants unequivocally asked Plaintiff about his social media posts about this case in

their discovery. Plaintiff signed the interrogatory answer that failed to identify his social media

activity. Curiously he did not swear to it as required by Rule 33(b)(1). Plaintiff’s counsel assured

Defendants’ counsel on several occasions Plaintiff did not maintain social media. This is

undeniably false, as Plaintiff not only has social media, but he also posts about this case. While

Defendants can pull posts from Plaintiff’s public-facing Facebook page they were assured did not

exist, some posts are private and additional responsive but non-public material may exist. At this

point, Defendants have absolutely no faith in anything represented to them in discovery by

Plaintiff. This pattern of evasiveness, misdirection, and, in this instance, downright dishonesty

continues. Defendants request the Court consider this as part of the continuing pattern of discovery

violations in determining an appropriate sanction under Rule 37(d).

                                         CONCLUSION

       Plaintiff and his counsel failed to identify responsive and highly relevant social media posts

about this case, falsely assuring Defendants Plaintiff had no social media accounts. This continues

a pattern of non-compliance with court orders, destruction of documents, and now false discovery

answers. The Court should consider this additional evidence as part of Defendants’ pending

Motion for Sanctions.




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       WHEREFORE, Defendants respectfully request this Honorable Court grant their Motion

for Sanctions or such other relief deemed appropriate.

                                             Respectfully submitted,

                                             CASSIDAY SCHADE LLP

                                             By: /s/ Joseph N. Rupcich
                                                 One of the Attorneys for Defendant,
                                                 WEXFORD HEALTH SOURCES, INC.,
                                                 KELLY RENZI, PSY.D., and WILLIAM
                                                 PUGA, M.D.

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 6, 2022, I electronically filed the foregoing Supplement

to Motion for Sanctions with the Clerk of the Court using the CM/ECF system. The electronic

case filing system sent a “Notice of E-Filing” to the following:


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                                                                               /s/ Joseph N. Rupcich
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